      Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 1 of 21 PageID #:1




                              UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF ILLINOIS
                                    EASTERN DIVISION

NICHOLAS BRAIS,                                 )
                                                )
                          PLAINTIFF,            )       No. 1:20-cv-6697
                                                )       JURY DEMANDED
                 v.                             )
                                                )
UNITED PARCEL SERVICE, INC.,                    )
                                                )
                          DEFENDANT.            )

                                            COMPLAINT

        NOW COMES, Plaintiff NICHOLAS BRAIS (“Plaintiff Brais”), by and through his

attorneys, Gainsberg Law, P.C., complaining of Defendant, UNITED PARCEL SERVICE, INC.

(“Defendant UPS”) and states as follows:

                                                 PARTIES

        1.       Plaintiff Brais is a resident of the City of Kankakee, Illinois.

        2.       Defendant UPS is an Ohio corporation, with a corporate headquarters located in

Georgia, and conducted substantial freight shipping business within this judicial district.

     JURISDICTION, VENUE, EXHAUSTION OF ADMINISTRATIVE REMEDIES

        3.       This Court has original jurisdiction pursuant to 28 U.S.C. §1331 over the

retaliation claims arising under Count I-IV of this Complaint. This Court has supplemental

jurisdiction over Plaintiff Brais’s state law claim pursuant to 28 U.S.C. §1367. Venue is proper

in this judicial district as the facts and events giving rise to Plaintiff Brais’s claims occurred in

this judicial district.

        4.       Plaintiff Brais has exhausted his administrative remedies as to Counts III and IV

and these claims are properly before this Court. Plaintiff Brais timely filed charges of retaliatory



                                                    1
      Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 2 of 21 PageID #:2




hostile work environment and disparate treatment - retaliatory discharge with the United States

Equal Employment Opportunity Commission (“EEOC”) against Defendant UPS, Charge number

21B-2019-01573.

       5.      Plaintiff Brais received the Notice of Right to Sue from the EEOC regarding these

charges on August 18, 2020, attached as Exhibit A.

       6.      Venue is properly placed in this District because the Defendant is transacting

business in this District and because a substantial part of the events or omissions giving rise to

the claim occurred in this District pursuant to 28 U.S.C. §1391(b)(2) and (3).

                                              FACTS

       7.      On or about June 30, 2014, Plaintiff Brais was hired by Defendant UPS as a Utility

person and became a member of the collective bargaining representative Local 701.

       8.      On or about December 2014, Plaintiff Brais was permitted leave under the then

effective collective bargaining agreement between Defendant UPS and Local 701 and worked for

the International Association of Machinists (“IAM”), the International affiliate of the predecessor

union to Defendant Local 701, as a business representative in the Automotive Department out of

the IAM Headquarters located in the State of Maryland.

       9.      On or about January 2017, Plaintiff Brais returned to employment with Defendant

UPS as a Utility man assigned to the Santa Fe Regional Shop Facility then located at 7545 Santa

Fe Drive, Hodgkins, Illinois.

       10.     On or about April 2018, Plaintiff Brais became an Apprentice Mechanic for

Defendant UPS and was moved from the day shift to the afternoon shift.




                                                  2
      Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 3 of 21 PageID #:3




       11.     Plaintiff Brais’s afternoon shift did not have an assigned union steward. Plaintiff

Brais would consult with and answer questions of his coworkers on his shift with regard to the

collective bargaining unit due to his prior experience as a business representative with IAM.

       12.     On or about September 2018, Defendant UPS assigned a white male named Mike

Leyesa (“Supervisor Leyesa”) as the supervisor for Plaintiff Brais’s shift.

       13.     In September 2018, Supervisor Leyesa began speaking to Plaintiff Brais’s

coworkers in an intimidating manner and pressuring them to work at unsafe speeds, including at a

meeting at which Plaintiff Brais was present.

       14.     In September 2018, multiple union members on Plaintiff Brais’s shift approached

Plaintiff Brais to discuss the pressure to work at unsafe speeds from Supervisor Leyesa.

       15.     Shortly after, Plaintiff Brais and a coworker approached Supervisor Leyesa and

asked him to respect the workers on the shift and to stop pressuring workers to work at unsafe

speeds. Following this meeting, Supervisor Leyesa apologized the workers for his behavior.

       16.     On or about October 2018, Plaintiff Brais’s coworker James Crowder, who is

Black, reported to Plaintiff Brais that Supervisor Leyesa had been making racially hostile

environment when he told another Black employee that the Black employee was “really putting

that white boy to work”, increasing tension between the Black employee and a Polish employee.

       17.     Shortly thereafter, Plaintiff Brais brought these concerns to the attention of

Supervisor Leyesa. Supervisor Leyesa asked Plaintiff Brais for the name of employee who had

complained about him, and Plaintiff Brais said he could not divulge the names.

       18.     Plaintiff Brais made this complaint to Supervisor Leyesa in good-faith to reduce

the racial tensions in the shop and in opposition to a racially hostile work environment.




                                                 3
      Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 4 of 21 PageID #:4




       19.     On or about October 2018, Plaintiff Brais was approached by Supervisor Leyesa,

and told to turn down his music because the “VIP” group complained. Plaintiff Brais asked

Supervisor Leyesa what he meant by “VIP” group, and Supervisor Leyesa said “Very Important

Polish” referring to Plaintiff Brais’s Polish coworkers, Foreman Ziggy Rafacz (“Foreman

Rafacz”), and Jan Karwacska. Plaintiff Brais then told Supervisor Leyesa that such comments

could be considered racist and Supervisor Leyesa did not respond and walked away. Plaintiff Brais

was informed by another coworker that Supervisor Leyesa had used the “VIP” term to refer to

Polish coworkers as well.

       20.     Plaintiff Brais made this complaint to Supervisor Leyesa in good-faith to reduce

the racial tensions in the shop and in opposition to a racially hostile work environment.

       21.     In early November 2018, Plaintiff Brais approached Supervisor Leyesa to work the

day shift instead of the afternoon shift on Wednesday November 16, 2018 and Thursday November

17, 2018 and take a personal day on Friday November 18, 2018 and Supervisor Leyesa agreed to

make the change.

       22.     Shortly after, on or about November 12, 2018, Foreman Rafacz, came to Plaintiff

Brais’s work area and told Plaintiff Brais that Supervisor Leyesa told him about the complaints he

had made to Supervisor Leyesa about using racially hostile comments. Plaintiff Brais was

surprised why Supervisor Leyesa would discuss that matter with Foreman Rafacz. Foreman

Rafacz then told Plaintiff Brais that Supervisor Leyesa had told him that he was only receiving the

personal day and implied that Supervisor Leyesa would not make the schedule change as well.

       23.     Plaintiff Brais then approached Supervisor Leyesa who confirmed that despite their

previous agreement, Plaintiff Brais would not be receiving his requested shift change for two days.




                                                 4
      Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 5 of 21 PageID #:5




       24.     On or about November 14, 2020, Plaintiff Brais filed a grievance alleging the denial

of the previously agreed schedule change in retaliation for raising complaints about Supervisor

Leyesa’s racial comments. To Plaintiff Brais’s knowledge, Defendant UPS and Local 701 never

addressed this grievance.

       25.     On or about November 27, 2018, Supervisor Leyesa told Plaintiff Brais that he

needed to inform him anytime a Local 701 member came to the shop for union business. Plaintiff

Brais asked Supervisor Leyesa what he meant, and Supervisor Leyesa said he was referring to

Plaintiff Brais’s running mate, George Majia, the recording secretary of Local 701, and running

mate of Plaintiff Brais on the slate in opposition to the incumbent leadership during the on-going

Local 701 union leadership election. Plaintiff Brais responded to Supervisor Leyesa that Terry

Kimmel, a Local 701 business representative had been to the shop multiple times to campaign for

the incumbent slate. Supervisor Leyesa told Plaintiff Brais that he was friends with Terry Kimmel

and walked away.

       26.     Later that day, Supervisor Leyesa approached Plaintiff Brais and told him he would

conduct an hour-long safety evaluation of Plaintiff Brais without any apparent basis. Additionally,

Supervisor Leyesa asked Plaintiff Brais to finish his timecard. Plaintiff Brais responded that he

would turn in his timecard at the regular time at the end of his shift.

       27.     The following day, on or about November 28, 2020, Plaintiff Brais discovered he

was unable to clock-in for work because his previous timecard was not approved by Supervisor

Leyesa. Supervisor Leyesa falsely claimed the previous timecard listed an incorrect lunchtime

and said he would not approve it until it was changed. Plaintiff Brais insisted the timecard was

correct. Supervisor Leyesa said there would be a meeting regarding the issue.




                                                  5
      Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 6 of 21 PageID #:6




       28.     That evening, a meeting was held with a UPS Manager, Supervisor Leyesa, Plaintiff

Brais, and Plaintiff Brais’s chosen Weingarten observer, Gregory Huggins. Plaintiff Brais insisted

the timecard was corrected and stated he felt retaliated against by Supervisor Leyesa for filing a

previous grievance regarding Supervisor Leyesa’s retaliation for his complaints regarding

Supervisor Leyesa’s racial comments.

       29.     Following the meeting, Mr. Huggins informed Plaintiff Brais that his timecard was

accepted as correct. Plaintiff Brais filed a grievance regarding this issue as retaliation for his

previous grievance against Supervisor Leyesa for his racial comments. To Plaintiff Brais’s

knowledge, Defendant UPS and Local 701 never addressed this grievance.

       30.     On or about November 29, 2018, Mr. Crowder, approached Plaintiff Brais and told

him Supervisor Leyesa continued using hostile language towards him and other black people.

       31.     Following this, Plaintiff Brais approached Local 701 union steward Marvin Belin

to accompany him to discuss the racial comments and retaliation by Supervisor Leyesa with UPS

District Manager Ron Hazel. Union Steward Belin agreed accompanied Plaintiff Brais to meet

with District Manager Hazel. Plaintiff Brais described the racial comments and harassment by

Supervisor Leyesa with District Manager Hazel and stated he had witnesses. District Manager

Hazel responded that the harassment was only Supervisor Leyesa doing his job to supervise the

union members.

       32.     Plaintiff Brais made this complaint to Supervisor Leyesa in good-faith to reduce

the racial tensions in the shop and in opposition to a racially hostile work environment and to deter

retaliation for said opposition.

       33.     After that meeting, Plaintiff Brais reported the response of District Manager Hazel

to Mr. Crowder. Mr. Crowder then told Plaintiff Brais to speak to another black union member,



                                                 6
      Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 7 of 21 PageID #:7




Darrel Holder. Darrel Holder confirmed to Plaintiff Brais that Supervisor Leyesa remarked to him

in front of a white Polish co-worker that he was “really putting that white boy to work” and that

the comment increased racial tension between him and the white Polish co-worker. Plaintiff Brais,

Mr. Crowder and Mr. Holder agreed the comment contributed to a hostile work environment for

black employees, and Plaintiff Brais agreed to file a Human Resources complaint when he returned

from vacation on December 10, 2018.

       34.     On December 10, 2018, Plaintiff Brais filed a Complaint with the UPS Anti-

Harassment Line, Case Report #1812-UPS-10426, regarding the continued racial comments of

Supervisor Leyesa, intimidation and retaliation for his previous reports against Supervisor Leyesa

for racially hostile comments.

       35.     Plaintiff Brais made this complaint to Supervisor Leyesa in good-faith to reduce

the racial tensions in the shop and in opposition to a racially hostile work environment and to deter

retaliation for said opposition.

       36.     On or about December 19, 2018, two representatives believed to be from Defendant

UPS’s Human Resources department met with Plaintiff Brais, Mr. Holder and Mr. Crowder

regarding the December 10, 2018 Human Resources complaint. Plaintiff Brais complained that

the comments created a racially hostile work environment and the retaliatory harassment Plaintiff

Brais experienced from Supervisor Leyesa, including the actions subject to filed grievances, also

created a hostile environment.

       37.     On January 8, 2019, three personnel from the Defendant UPS’s Human Resources

department met with Plaintiff Brais and Mr. Huggins. Plaintiff Brais was informed that Defendant

UPS was closing its investigation because no employees felt in fear for their jobs, harassed or

intimidated by Supervisor Leyesa and that Supervisor Leyesa would not be transferred. Plaintiff



                                                 7
        Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 8 of 21 PageID #:8




Brais stated that he and Mr. Crowder felt in fear for their jobs, harassed and intimidated by

Supervisor Leyesa. Plaintiff Brais was informed that management was informed of the situation

and that they should see changes in management actions. Plaintiff Brais was asked if he agreed

with this resolution and he said he was not as he felt there were no changes were actually discussed

and stated he would continue to pursue the filed grievances. That day, Plaintiff Brais filed another

grievance about Supervisor Leyesa’s comments at issue in the December 10, 2018 Human

Resources complaint. To Plaintiff Brais’s knowledge, Defendant UPS and Local 701 never

addressed this grievance.

         38.   On or about January 14, 2019, Defendant UPS relocated the Santa Fe Regional

Repair shop, to 6301 Santa Fe Driver, Hodgkins, Illinois, a facility much larger than the old

facility. The new facility confused employees who were not familiar with the layout of the facility

and the set up of the parts room necessary for the work was not complete.

         39.   During a shift meeting at the new facility, other changes were announced by

Supervisor Leyesa, including video surveillance at the new facility and designated smoking areas.

At this meeting, Plaintiff Brais raised the issue of impact gloves to protect the hands of the workers,

which were requested a number of months before the facility changes. Supervisor Leyesa stated

that there were no gloves on order.

         40.   Following the meeting, several members complained to Plaintiff Brais about the

size and disorganization of the new facility, the change in video surveillance and designated

smoking areas. When Supervisor Leyesa came to Plaintiff Brais’s area after the meeting, Plaintiff

Brais raised these concerns, especially the fact the larger facility would require more time for

employees to perform their work. Supervisor Leyesa refused to address any of these concerns and

left.



                                                  8
         Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 9 of 21 PageID #:9




          41.   After this interaction, Plaintiff Brais observed another apprentice mechanic, Kris

Cikowski struggling to roll two trailer tires across the new shop floor the additional distance to the

work station. Mr. Cikowski was a relatively new employee, weighing only about 155 pounds.

Each tire he was rolling was approximately 300 pounds.

          42.   Out of concern for Mr. Cikowski’s safety, Plaintiff Brais approached Mr. Cikowski

on his way to the parts area after Mr. Cikowski retuned to his work station and Plaintiff Brais told

him that is was safer to roll one 300 pounds tire at a time instead of two 300 pound tires at a time,

and that to Plaintiff Brais’s understanding from a prior discussion with CHSP safety team member

Mr. Huggins on the issue, it was Defendant UPS’s policy to only have one tire rolled at a time.

          43.   Plaintiff Brais also told Mr. Huggins he observed Mr. Cikowski rolling two 300

pound tires at the same time and informed him of his understanding that the policy to only roll one

300 pound tire at a time. Mr. Huggins confirmed he has also told Mr. Cikowski the same.

          44.   On or about January 15, 2019, Plaintiff Brais addressed his co-workers before a

shift safety meeting, stating that the new shop was very large and that work may take longer to

perform safely. Plaintiff Brais raised the example of rolling one tire at a time instead of two and

emphasized that the most important goal was to work safe to return home to their families. Plaintiff

Brais said he has no problem filing a grievance if anyone felt harassed by management to work in

an unsafe manner.

          45.   On or about January 28, 2019, Plaintiff Brais returned from a sick day and was

brought to a meeting with Defendant UPS management by UPS CACH Automotive Fleet Manager

Will Altman. Manager Altman, Defendant UPS District Labor Manager Matthew Mueller,

Defendant UPS Manager Jim Bloede and Union Steward Belin attended the meeting with Plaintiff

Brais.



                                                  9
    Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 10 of 21 PageID #:10




       46.     Manager Muller stated that Plaintiff Brais was accused of attempting to initiate a

work slowdown. Plaintiff Brais stated he only told his co-workers to take the time to work safely

due to the size of the new shop. Manager Mueller then falsely accused Plaintiff Brais of

approaching each worker individually to tell them to slow down and to roll one tire instead of two

to cost the company money. Plaintiff Brais disputed this and again restated that he did raise the

issue of rolling one tire instead of two because he saw the 155 pound Mr. Cikowski struggling to

roll two 300 pounds tires to save time due to the new size of the facility and that this was unsafe.

Plaintiff Brais said he believed it was UPS policy to only have one tire rolled at a time from Mr.

Huggins. Plaintiff Brais then raised a serious injury that had occurred at the old shop shortly before

the relocation. Plaintiff Brais stated he felt that this meeting was in retaliation and harassment for

the previous grievances he filed against the racial comments and retaliation by Supervisor Leyesa.

Manager Bloede responded that the matter was investigated and no one felt harassed. Plaintiff

Brais said that was wrong as both he and Mr. Crowder felt in fear for their jobs. Manager Bloede

said he would not address the issue further, and that he did not “buy” Plaintiff Brais’s account of

what he told his coworkers.

       47.     The managers left the room for approximately 40 minutes and returned and

informed Plaintiff Brais he was discharged and provided him with a letter inaccurately stating his

date of discharge was January 29, 2019.

       48.     On January 28, 2019, Plaintiff Brais was terminated in retaliation for his complaints

regarding the racial comments and complaints of retaliation motivated by his complaints of racial

comments by Supervisor Leyesa, and for his statements regarding working safely, including the

safe rolling of 300 pound tires which posed a significant risk of serious harm and injury to




                                                 10
    Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 11 of 21 PageID #:11




coworkers if done too fast and two at a time and requesting impact gloves to protect the hands of

his coworkers.

       49.       Mr. Huggins who did not make complaints regarding the racial comments or

retaliation by Supervisor Leyesa was not harassed, discharged or disciplined.

       50.       Other employees comparable to Plaintiff Brais who did not make complaints who

did not make complaints regarding the racial comments or retaliation by Supervisor Leyesa were

not harassed, discharged or disciplined.

       51.       At all times material to this Complaint, Plaintiff Brais met or exceeded the

legitimate employment expectations of Defendant UPS.

       52.       The retaliatory harassment endured by Plaintiff Brais for his opposition to racially

hostile comments by Supervisor Leyesa was severe and pervasive, and altered the terms and

conditions of his employment.

       53.       The retaliatory harassment endured by Plaintiff Brais for his opposition to racially

hostile comments by Supervisor Leyesa was perceived by Plaintiff Brais for his opposition to

racially hostile comments by Supervisor Leyesa was perceived as offensive by Plaintiff Brais.

       54.       As a direct and proximate result of the harassment endured by Plaintiff Brais for

his for his opposition to racially hostile comments by Supervisor Leyesa he endured loss of

reputation and emotional distress.

       55.       As a direct and proximate result of his wrongful termination, Plaintiff Brais suffered

loss of employment and income, loss of reputation, emotional distress, loss of future earning

capacity, and has incurred attorney’s fees and costs in this matter.




                                                   11
    Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 12 of 21 PageID #:12




                                      COUNT I
Hostile Work Environment Claim Based On Retaliation in Violation of the Civil Rights Act
                              of 1866, 42 U.S.C. § 1981
                          Plaintiff Brais v. Defendant UPS

       1-55. Plaintiff Brais re-alleges and restates Paragraphs 1-55 of this Complaint as if set

forth fully herein this Paragraph of Count I of this Complaint.

       56.     Defendant UPS has discriminated against Plaintiff Brais with regard to a hostile

work environment, discrimination, harassment, retaliation, discharge and other adverse, unequal

and unfavorable terms and conditions of employment because of his good-faith opposition to race

and color discrimination as set forth herein this Complaint in violation of the Civil Rights Act of

1866, 42 U.S.C. § 1981 and 1981(a).

       57.     Defendant UPS discriminated on the basis of Plaintiff Brais’s opposition to race

and color discrimination at Defendant UPS by perpetuating a hostile work environment that

negatively altered the terms and conditions of his employment and resulted in his termination.

       58.     By the above actions, but not limited to the same, Plaintiff Brais was subject to

pervasive and continuous unwelcome hostility by management of Defendant UPS, which altered

the terms conditions and privileges of employment because of his opposition to racial

discrimination.

       59.     This harassment was intolerable and offensive to a reasonable employee and

Plaintiff Brais was offended.

       60.     Defendant UPS knew of the harassment and failed to take prompt remedial action

to stop and correct the same.

       61.     By the above actions but not limited to the same, Defendant UPS created an

intimidating, hostile and objectively offensive work environment, which unreasonably interfered

with Plaintiff’s work performance, and seriously affected his psychological well-being.

                                                12
    Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 13 of 21 PageID #:13




       62.        Defendant UPS employees who did not oppose race discrimination at Defendant

UPS were not subject to the same or similar treatment.

       63.        Due to its inaction, as well as the direct actions of its management, Defendant UPS

condoned and ratified the aforementioned unlawful acts.

       64.        Defendant UPS’s actions reflect a policy, custom, or pattern of official conduct of

engaging in and condoning harassment and discrimination of employees opposing race

discrimination.

       65.        Defendant UPS’s conduct has been intentional, deliberate, willful and conducted

with disregard of the rights of the Plaintiff Brais.

       66.        By reason of Defendant UPS’s discriminating, harassing and retaliatory

employment practices based upon his opposition to Defendant IDP’s discrimination based on race

and color, Plaintiff Brais has experienced extreme harm, including emotional distress, loss of

compensation, wages, back and front pay, loss of reputation and loss other employment benefits,

and as such, Plaintiff Brais entitled to all legal and equitable remedies available under the Civil

Rights Act of 1866, 42 U.S.C. § 1981.

       WHEREFORE, Plaintiff Brais demands judgment against Defendant UPS as follows:

             a.    A declaratory judgment that the employment practices challenged herein are illegal
                  and violative of the rights secured to Plaintiff Brais;
             b.   Judgement against Defendant UPS for Plaintiff Brais in an amount sufficient to
                  fully compensate Plaintiff for all personal damages sustained, including but not
                  limited to full compensation for emotional distress, mental anguish, humiliation
                  and loss of reputation;
             c.   Judgement against Defendant UPS for Plaintiff Brais in an amount sufficient to
                  fully compensate Plaintiff Brais for all pecuniary damages sustained, including but
                  not limited to front pay, back pay, lost income and benefits;
             d.   Judgement against Defendant UPS for Plaintiff Brais for punitive damages;
             e.   Judgement against Defendant UPS for Plaintiff Brais for the reasonable attorney’s
                  fees and costs incurred by Plaintiff Brais prosecuting this action;



                                                  13
    Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 14 of 21 PageID #:14




             f. Judgement against Defendant UPS for Plaintiff Brais for pre-judgment and post-
                judgment interest at the highest rate permitted by law; and
             g. Any and all other relief that this Honorable Court may deem just and equitable.

                                       COUNT II
Disparate Treatment (Retaliation) Wrongful Discharge in Violation of the Civil Rights Act
                                of 1866, 42 U.S.C. § 1981
                            Plaintiff Brais v. Defendant UPS

       1-67. Plaintiff Brais realleges and incorporates by reference all preceding Paragraphs of

Count I of this Complaint, as if fully set forth herein this Paragraph of Count II of this

Complaint.

       68.        Defendant UPS’s termination of Plaintiff Brais because of his good-faith

opposition to Defendant’s discrimination based on race and color, as set forth herein this

Complaint constitutes a violation of the Civil Rights Act of 1866, 42 U.S.C. § 1981 and 1981(a).

       69.        Defendant UPS’s conduct has been intentional, deliberate, willful and conducted

with disregard of the rights of the Plaintiff Brais.

       70.        By reason of Defendant UPS’s discriminatory employment practices based upon

race and color, Plaintiff Brais has experienced extreme harm, including loss of compensation,

wages, back and front pay, damages and other employment benefits, emotional distress, loss of

reputation, and as such, Plaintiff Brais is entitled to all legal and equitable remedies available

under the Civil Rights Act of 1866.

       WHEREFORE, Plaintiff Brais demands judgment against Defendant UPS as follows:

             a.  A declaratory judgment that the employment practices challenged herein are illegal
                and violative of the rights secured to Plaintiff Brais;
             b. Judgement against Defendant UPS for Plaintiff Brais in an amount sufficient to
                fully compensate Plaintiff Brais for all personal damages sustained, including but
                not limited to full compensation for his emotional distress, mental anguish,
                humiliation and loss of reputation;




                                                  14
    Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 15 of 21 PageID #:15




             c. Judgement against Defendant UPS for Plaintiff Brais in an amount sufficient to
                fully compensate Plaintiff for all pecuniary damages sustained, including but not
                limited to front pay, back pay, lost income and benefits
             d. Judgement against Defendant UPS for Plaintiff Brais for punitive damages;
             e. Judgement against Defendant UPS for Plaintiff Brais for the reasonable attorney’s
                fees and costs incurred by Plaintiff Brais prosecuting this action;
             f. Judgement against Defendant UPS for Plaintiff Brais for pre-judgment and post-
                judgment interest at the highest rate permitted by law; and
             g. Any and all other relief that this Honorable Court may deem just and equitable.

                                     COUNT III
Hostile Work Environment (Retaliation) in Violation of Title VII of the Civil Rights Act, 42
                                U.S.C. § 2000e, et seq.
                          Plaintiff Brais v. Defendant UPS

       1-67. Plaintiff Brais reincorporates and realleges all preceding Paragraphs of Count I of

this Complaint as though fully set forth herein this Paragraph of Count III of this Complaint.

       68.      At all times material to this Complaint, Defendant UPS employed 15 or more

employees in Illinois.

       69.      At all times material to this Complaint, Plaintiff Brais was an “employee” of

Defendant UPS within the meaning and protection of 42 U.S.C. § 2000e, et seq.

       70.      At all times material to this Complaint, Defendant UPS was an “employer” of

Plaintiff Brais within the meaning and protection of 42 U.S.C. § 2000e, et seq.

       71.      Plaintiff Brais is a member of a protected class. He engaged in activity protected

under Title VII when he complained about hostile racial and ethnic based comments by Supervisor

Leyesa and subsequent harassment and retaliation for said complaints as described herein to the

management of Defendant UPS.

       72.      During the course of Plaintiff Brais’s employment with Defendant UPS, he was

subjected to a severe and pervasive hostile work environment because of his Title VII protected

activity, as set forth herein this Complaint.



                                                15
     Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 16 of 21 PageID #:16




        73.       Defendant UPS treated similarly situated employees who did not engaged in Title

VII protected activity more favorably than the Plaintiff Brais was treated, as alleged herein.

Defendant UPS intended to and/or knowingly engaged in and/or condoned and/or ratified the

severe and pervasive retaliatory discrimination, harassment and hostile work environment, as

alleged herein.

        74.       The actions of Defendant UPS as perpetrated by its agents and as described and

complained of above, are unlawful employment practices in that they likely have the effect of

discriminating against, depriving and tending to deprive equal employment to, and otherwise

adversely affecting Plaintiff Brais because of his protected activity, in violation of Title VII of the

Civil Rights Act of 1964 as amended, 42 U.S.C. § 2000(e), et seq.

        75.       At all times relevant to this action, Defendant UPS had a duty under Title VII to

refrain from discriminating against, harassing, retaliating against and permitting a hostile work

environment for Plaintiff Brais based on his Title VII protected activity. Defendant UPS had a

duty under Title VII to prevent the hostile work environment because Plaintiff Brais engaged in

Title VII protected activity.

        76.       Despite actual and/or constructive knowledge of the severe and pervasive hostile

work environment, discrimination and harassment based on Plaintiff Brais’s Title VII protected

activity, Defendant UPS refused to take proper action to investigate, remediate, stop, prevent, or

otherwise address the ongoing discrimination, harassment, hostile work environment, or

retaliation.

        77.       Defendant UPS intentionally subjected Plaintiff Brais to unequal and

discriminatory treatment by creating a hostile and abusive work environment that altered the




                                                  16
    Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 17 of 21 PageID #:17




conditions of Plaintiff Brais’s employment and by knowingly failing and refusing to protect

Plaintiff Brais from those hostile and abusive conditions.

        78.        The discriminatory actions by Defendant UPS, through its management, agents and

employees, were intentional and willful, and in deliberate disregard of and with reckless

indifference to the federal laws, state laws, and the rights and sensibilities of Plaintiff Brais.

        79.        Defendant UPS, by and through its agents, engaged in the foregoing acts and

conduct when it knew or should have known that the same were in violation of Title VII and any

alleged reasons to the contrary are pretextual.

        80.        The actions of Defendant UPS in intentionally engaging in and condoning

discrimination, harassment, hostile work environment and retaliation against Plaintiff Brais

because he engaged in Title VII protected activity have caused Plaintiff Brais mental anguish,

humiliation, loss of reputation, emotional distress, lost wages and benefits, future pecuniary losses,

and other consequential damage.

        81.        There is a causal connection between the Plaintiff Brais’s Title VII protected

activity and the dissimilar treatment suffered by Plaintiff Brais at the hands of the Defendant UPS.

        WHEREFORE, Plaintiff Brais demands judgment against Defendant UPS as follows:

              a.    A declaratory judgment that the employment practices challenged herein are illegal
                   and violative of the rights secured to Plaintiff Brais;
              b.   Judgement against Defendant UPS for Plaintiff Brais in an amount sufficient to
                   fully compensate Plaintiff for all personal damages sustained, including but not
                   limited to full compensation for his emotional distress, mental anguish, humiliation
                   and loss of reputation;
              c.   Judgement against Defendant UPS for Plaintiff Brais in an amount sufficient to
                   fully compensate Plaintiff for all pecuniary damages sustained, including but not
                   limited to front pay, back pay, lost income and benefits;
              d.   Judgement against Defendant UPS for Plaintiff Brais for punitive damages;
              e.   Judgement against Defendant UPS for Plaintiff Brais for the reasonable attorney’s
                   fees and costs incurred by Plaintiff Brais prosecuting this action;
              f.   Judgement against Defendant UPS for Plaintiff Brais for pre-judgment and post-
                   judgment interest at the highest rate permitted by law; and


                                                    17
    Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 18 of 21 PageID #:18




              g. Any and all other relief that this Honorable Court may deem just and equitable.

                                       COUNT IV
  Disparate Treatment (Retaliation) Retaliatory Discharge in Violation of Title VII of the
                       Civil Rights Act, 42 U.S.C. § 2000e, et seq.
                            Plaintiff Brais v. Defendant UPS

        1-81. Plaintiff Brais reincorporates and realleges all preceding Paragraphs of Count III of

this Complaint as though fully set forth herein this Paragraph of Count IV of this Complaint.

        82.      Defendant UPS terminated Plaintiff Brais because of his Title VII protected

activity, as set forth herein this Complaint.

        83.      In the alternative, Plaintiff Brais’s Title VII protected activity was a motivating

factor of his termination by Defendant UPS, as set forth herein this Complaint.

        84.      Defendant UPS did not terminate similarly situated employees who did not engage

in Title VII protected activity, as alleged herein.

        85.      The actions of Defendant UPS as perpetrated by its agents and as described and

complained of above, are unlawful employment practices in that they likely have the effect of

discriminating against, depriving and tending to deprive equal employment to, and otherwise

adversely affecting Plaintiff Brais because of his Title VII protected activity, in violation of Title

VII of the Civil Rights Act of 1964 as amended, 42 U.S.C. § 2000(e), et seq.

        86.      At all times relevant to this action, Defendant UPS had a duty under Title VII to

refrain from discriminating against Plaintiff Brais because of his Title VII protected activity.

        87.      The discriminatory actions by Defendant UPS, through its management, agents and

employees, were intentional and willful, and in deliberate disregard of and with reckless

indifference to the federal laws, state laws, and the rights and sensibilities of Plaintiff Brais.




                                                  18
    Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 19 of 21 PageID #:19




       88.        Defendant UPS, by and through its agents, engaged in the foregoing acts and

conduct when it knew or should have known that the same were in violation of Title VII and any

alleged reasons to the contrary are pretextual.

       89.        The actions of Defendant UPS in intentionally engaging in and condoning

discrimination because Plaintiff Brais engaged in Title VII protected activity, have caused Plaintiff

Brais mental anguish, humiliation, loss of reputation, emotional distress, inconvenience, lost

compensation and benefits, future pecuniary losses, and other consequential damage.

       90.        There is a causal connection between the Plaintiff Brais’s participation in Title VII

protected activity and the dissimilar treatment suffered by Plaintiff Brais at the hands of the

Defendant UPS.

       WHEREFORE, Plaintiff Brais demands judgment against Defendant UPS as follows:

             a.    A declaratory judgment that the employment practices challenged herein are illegal
                  and violative of the rights secured to Plaintiff Brais;
             b.   Judgement against Defendant UPS for Plaintiff Brais in an amount sufficient to
                  fully compensate Plaintiff for all personal damages sustained, including but not
                  limited to full compensation for his emotional distress, mental anguish, humiliation
                  and loss of reputation;
             c.   Judgement against Defendant UPS for Plaintiff Brais in an amount sufficient to
                  fully compensate Plaintiff for all pecuniary damages sustained, including but not
                  limited to front pay, back pay, lost income and benefits;
             d.   Judgement against Defendant UPS for Plaintiff Brais for punitive damages;
             e.   Judgement against Defendant UPS for Plaintiff Brais for the reasonable attorney’s
                  fees and costs incurred by Plaintiff Brais prosecuting this action;
             f.   Judgement against Defendant UPS for Plaintiff Brais for pre-judgment and post-
                  judgment interest at the highest rate permitted by law; and
             g.   Any and all other relief that this Honorable Court may deem just and equitable.

                                             COUNT V
                        Retaliatory Discharge Under Illinois Common Law
                                 Plaintiff Brais v. Defendant UPS

       1-55. Plaintiff Brais re-alleges and restates Paragraphs 1-55 of this Complaint as if set

forth fully herein this Paragraph of Count V of this Complaint.



                                                   19
    Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 20 of 21 PageID #:20




       56.      Plaintiff Brais was an “employee” within the meaning of Illinois common law.

       57.      Defendant UPS was an “employee within the meaning of Illinois common law.

       58.      Plaintiff Brais’s protected activities as set forth herein were an attempt to stop

unsafe work practices, including working at safe speeds, advocacy for impact gloves and the

rolling of two 300 pound tires, which posed a significant risk or serious harm or injury to

employees at his workplace.

       59.      Defendant UPS’s discharge of Plaintiff Brais in retaliation for his aforementioned

protected activity was in violation of Illinois public policy to protect workers attempting to stop

unsafe work practices that pose a significant risk of serious harm or injury.

       60.      As a direct and proximate result of the retaliatory discharge of Plaintiff Brais by

Defendant UPS, Plaintiff Brais has loss of past and future income, loss of future income earning

potential, loss of reputation, sustained emotional distress.

       61.      Defendant UPS’s conduct was willful, wanton, reckless and/or deliberate which

justifies imposition of punitive damages.

       WHEREFORE, Plaintiff Brais, respectfully requests this Court enter judgment against

Defendant UPS as follows:

             a. Judgment against Defendant UPS in the amount of back pay to be determined at
                time of trial;
             b. Judgment against Defendant UPS for the amount of prejudgment interest on his
                back pay at the highest rate allowable under law to be determined at time of trial;
             c. Judgment against Defendant UPS in the amount of compensatory damages to be
                determined at time of trial;
             d. Judgment against Defendant UPS and imposition of punitive damages in an amount
                to be determined at trial;
             e. An award of reasonable costs incurred in prosecuting this action against Defendant
                UPS; and
             f. Such other and further relief as this Court deems just and proper.




                                                 20
    Case: 1:20-cv-06697 Document #: 1 Filed: 11/11/20 Page 21 of 21 PageID #:21




                                        TRIAL BY JURY DEMANDED.

                                        Respectfully submitted,

                                        By: __/s/ Nicholas Kreitman, Esq.
                                               Nicholas Kreitman, Esq.
                                               Plaintiff’s Attorney

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                                          21
